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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  GREAT MINDS,
                                                            2:16-cv-1462-DRH-ARL
                       Plaintiff,

         v.                                                 NOTICE OF APPEARANCE

  FEDEX OFFICE AND PRINT SERVICES, INC.,

                       Defendant.



               PLEASE TAKE NOTICE that the following attorney appears as counsel on

 behalf of Amicus Curiae Creative Commons Corporation in the above-captioned action:

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 Dated: September 15, 2016                  Respectfully submitted,

                                            LATHAM & WATKINS LLP

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                                            Corporation
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                               CERTIFICATE OF SERVICE


           I, Andrew M. Gass, hereby certify that on September 15, 2016, I caused the
    foregoing Notice of Appearance to be served via ECF on all counsel registered to receive
    such service.


                                                /s/ Andrew M. Gass
                                                Andrew M. Gass
